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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK

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 BRITTANY GLASER, individually and on behalf of :                      Case No. 2:22-cv-02530-WFK-AYS
 all others similarly situated,                                    :
                                                                   :   Judge William Francis Kuntz, II
                                     Plaintiff,
                                                                   :
                   -against-
                                                                   :
 BATH & BODY WORKS, LLC,                                           :
                                     Defendant.                    :
                                                                   :
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             NOTICE OF DEFENDANT BATH & BODY WORKS, LLC’S MOTION TO
                         DISMISS OR STAY PROCEEDINGS

         PLEASE TAKE NOTICE that as soon as it may be heard, in the courtroom of the

 Honorable William Francis Kuntz, II, located at 225 Cadman Plaza East, Brooklyn, New York

 11201, with oral argument to be held should the Court deem it necessary, Defendant Bath & Body

 Works, LLC (“BBW”) will and hereby does move the Court for an order dismissing Plaintiff’s

 Complaint under Rules 12(b)(6) and/or 12(b)(1) of the Federal Rules of Civil Procedure.

 Alternatively, BBW moves the Court to stay these proceedings pending the outcome of Grant v.

 Global Aircraft Delivery Dispatch, Inc., App. Div. No. 21-03202 (2d Dep’t), a case that addresses

 the open question of New York law at the heart of Plaintiff’s Complaint.

         BBW’s Motion is based on this Notice of Motion; BBW’s Memorandum in Support of the

 Motion; any arguments of counsel; and any other such materials properly considered by the Court

 at any hearing on this Motion.
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 Date of Service: August 16, 2022

                                    Respectfully submitted,

                                    /s/ Benjamin A. Shepler
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                                    Attorneys for Defendant Bath & Body Works, LLC
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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 16th day of August, 2022, a copy of the

 foregoing Notice of Motion was served via electronic mail on all counsel of record listed below:

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         Alec M. Leslie
         Bursor & Fisher, P.A.
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         New York, NY 10019

         Attorneys for Plaintiff



                                              /s/ Benjamin A. Shepler
                                              Benjamin A. Shepler
                                              Attorney for Defendant
